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 1
                               UNITED STATES DISTRICT COURT FOR THE
 2                               WESTERN DISTRICT OF WASHINGTON
 3                                         AT TACOMA

 4
 5    UNITED STATES OF AMERICA,                               NO. CR14-5159 BHS
                               Plaintiff,
 6
 7                                                            ORDER TO CONTINUE MOTIONS
                          v.
 8                                                            RESPONSE DATE
      ISIDRO BENITEZ-CASTILLO,
 9
                               Defendant.
10
11
             The Court, having considered the government’s Consent Motion to Continue the Motions
12
     Response Date, and for the reasons stated therein, finds that the government may have additional
13
     time to respond to pending motions in the above-captioned case. Accordingly, it is hereby
14
             ORDERED that the government’s responses to the pending motions in the above-
15 captioned case (dkt nos. 114, 115, 117, and 118) are due no later than January 14, 2015; and it is
16 further
17           ORDERED that the defendant’s reply, if any, is due on January 16, 2015; and it is further
18           ORDERED that the above-referenced motions are re-noted to January 16, 2015.
19
20           DATED this 8th day of January, 2015.

21
22
23
                                                     A
                                                     BENJAMIN H. SETTLE
                                                     United States District Judge
24
25           Presented by:

26           /s/ Jerrod C. Patterson
27           JERROD C. PATTERSON
             Assistant U.S. Attorney
28
     U.S. v. Isidro-Benitez, CR14-5159 BHS - 1                                       UNITED STATES ATTORNEY
                                                                                    700 STEWART STREET, SUITE 5220
     ORDER TO CONTINUE MOTIONS RESPONSE DATE                                          SEATTLE, WASHINGTON 98101
                                                                                            (206) 553-7970
